           Case 17-11141-amc           Doc 56-1 Filed 02/02/18 Entered 02/02/18 16:17:28                               Desc
                                         Exhibit Default Letter Page 1 of 1


                                       PHELAN HALLINAN DIAMOND & JONES, LLP
                                                      1617 JFK Boulevard, Suite 1400
                                                          One Penn Center Plaza
                                                          Philadelphia, PA 19103
                                                               215-563-7000
                                                      Bankruptcy Fax # 215-568-7616
Jerome Blank, Esquire                                                                               REPRESENTING LENDERS IN
BANKRUPTCY ATTORNEY                                                                                        Pennsylvania


     1/9/2018

     BRAD J. SADEK, ESQUIRE
     1315 Walnut Street, Suite 502
     PHILADELPHIA, PA 19107
     SENT VIA REGULAR MAIL AND FAX TO (215) 545-0611

     RE:        OUMOU STATON A/K/A QUMOU THOMAS
                Bankruptcy No.: 17-11141 AMC

     Dear Counselor:

              Our client has advised us that payments have not been made in accordance with the terms of the Stipulation
     agreed to by the parties and approved by the Bankruptcy Court by an Order entered on October 27, 2017.
               Pursuant to the terms of the Stipulation, your client has failed to make regular monthly payments, for the months
     of November 2017 through January 2018 in the amount of $808.50. In order to cure this default, it will be necessary for
     your client to remit $2,425.50, representing payments past due under the terms of the Stipulation, within ten (10) days from
     the date of this letter.
            Your clients' payment to cure this default should be remitted to: Phelan Hallinan Diamond & Jones, LLP,
     1617 JFK Boulevard, Suite 1400, One Penn Center Plaza Philadelphia, PA 19103, ATTN: BANKRUPTCY DEPT.
     and made payable to BANK OF AMERICA, N.A. (PLANO, TX).
              If your client does not remit the above amount within the ten (10) day period, we will certify default
     with the Bankruptcy Court and request relief from the automatic stay.

                                                                    JASON SEIDMAN, Legal Assistant
                                                                    Phelan Hallinan Diamond & Jones, LLP

     cc:      OUMOU THOMAS
              STEPHEN THOMAS
              WILLIAM C. MILLER, ESQUIRE (TRUSTEE)
              UNITED STATES TRUSTEE
              BANK OF AMERICA, N.A. (PLANO, TX)
              ATTENTION: BANKRUPTCY DEPARTMENT
              ACCOUNT NO.: XXXXX640

      THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT. ANY INFORMATION WE
      OBTAIN WILL BE USED FOR THAT PURPOSE. IF YOU HAVE PREVIOUSLY RECEIVED A DISCHARGE
      IN BANKRUPTCY, THIS CORRESPONDENCE IS NOT AND SHOULD NOT BE CONSTRUED TO BE AN
      ATTEMPT TO COLLECT A DEBT, BUT ONLY ENFORCEMENT OF A LIEN AGAINST PROPERTY
